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     SHABNAM VAFAEE
 7

 8                             U.S. DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 9

     SHABNAM VAFAEE, an individual,            Case No.: 2:15-cv-03665-MWF-AGR
10
           Plaintiff,                           NOTICE OF SETTLEMENT
11
           vs.
12
     24     HOUR         FITNESS
13
     CORPORATION, and DOES 1-10,
14         Defendants.

15
           PLEASE TAKE NOTICE that the parties in this matter have reached a settlement
16
     agreement and that all pending deadlines and hearings can now be vacated pending
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     finalization and execution of the agreement.
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     DATED: September 22, 2015                        Respectfully Submitted,
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                                                     /s/ Jared M. Hartman
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                                                    Jared M. Hartman, Esq.
                                                    Attorney for Plaintiff
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          NOTICE OF SETTLEMENT
